        Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 1 of 8




                            UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF PENNSYLVANIA


ALEXANDRE PELLETIER, Individually and )             Civ. Action No. 2:17-cv-05114-MMB
on Behalf of All Others Similarly Situated, )
                                            )       CLASS ACTION
                             Plaintiff,     )
                                            )       Honorable Michael M. Baylson
      vs.                                   )
                                            )       PRIOR LEAD PLAINTIFF’S COUNSEL’S
ENDO INTERNATIONAL PLC, et al.,             )       SUPPLEMENTAL MEMORANDUM
                                            )       REGARDING ATTORNEYS’ FEES
                             Defendants.
                                            )
                                            )


       At the February 23, 2022 hearing, the Court stated that it intends to make a fee award to

Prior Lead Plaintiff’s Counsel on an hourly basis.1 (See Tr. at 14:11-12; 19:14-18.) We recognize

that the Court will apply its discretion to determine its award. This supplemental memorandum

(a) describes the work that Bleichmar Fonti & Auld LLP (“BFA”) performed, and (b) addresses

the Court’s instruction to apply Philadelphia-area rates to BFA’s hours.

       Background

       In consultation with Lead Counsel (Mr. Stengel) and Co-Lead Counsel, Prior Lead

Plaintiff’s Counsel previously submitted their hours, lodestar, and expenses in support of Lead

Counsel’s application for an overall fee of 25%. (See ECF 402-9 (Declaration of Joseph A. Fonti

in Support of Application for Award of Attorneys’ Fees and Expenses) (the “Fonti Declaration”).)



1
 All capitalized terms not defined herein have the meanings stated in the Stipulation of Settlement
(ECF 396-1).
        Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 2 of 8



This was consistent with the Third Circuit’s instruction that “any attorney who wishes to be

compensated out of the plaintiff class’s recovery in a class action governed by the PSLRA must

submit his fee requests to the PSLRA lead plaintiff.” In re Cendant Corp. Sec. Litig., 404 F.3d

173, 199 (3d Cir. 2005).

       Pursuant to its authority as the PSLRA Lead Plaintiff, Bucks County Employees

Retirement System (“Bucks”) provided that “Lead Counsel [Mr. Stengel] shall thereafter allocate

the attorneys’ fees among Plaintiffs’ Counsel and Prior Lead Plaintiff’s Counsel in a manner that

Lead Counsel in good faith believes reflects the contributions of such counsel to the prosecution

and resolution of the Action.” (ECF 396-1 (October 15, 2021 Stipulation of Settlement) ¶6.2; see

also ECF 402-2 ¶21.)

       In the fee application, Lead Counsel referred to the “important work” BFA performed (ECF

402-2 ¶23) and identified five categories of tasks performed by BFA. Specifically, BFA:

           1. “drafted a detailed 120-page Amended Complaint”;

           2. “successfully opposed Defendants’ motion to dismiss as to key claims”;

           3. “[o]btained over one million pages of documents from Defendants and over
              190,000 pages from third parties” and “successfully moved to compel Defendants
              to produce certain board of directors materials and the depositions of Endo’s current
              CEO and a member of the audit committee”;

           4. “deposed five former Endo employees (including Defendant Upadhyay)”; and

           5. “moved for class certification, produced an expert report on topics relevant to class
              certification and opposed Defendants’ motion to strike portions of that report,
              defended that expert’s deposition, and deposed Defendants’ expert on the same
              topics.”

(ECF 402-2 ¶23.)




                                                2
        Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 3 of 8



       BFA’s Work

       BFA performed 17,780 hours of work during a two-and-a-half year period (June 2018

through December 9, 2020). (ECF 402-9 Ex. A (page 9 of 82).) Below is a description that begins

with the five areas identified by Mr. Stengel.2

       1.      Complaint: This category consists of work preparing the Amended Class Action

Complaint (the “Complaint”), which was filed on August 6, 2018 (ECF 62). Specific tasks

included: (i) analyzing three years (2014-2017) of Endo’s SEC filings, conference call transcripts,

analyst reports, and other public information; (ii) working with consulting experts to analyze

Endo’s financial disclosures, price increases, and profits Endo earned from those price increases

based on an econometric analysis; (iii) engaging an investigative firm to locate and interview

former Endo employees, resulting in identifying six former Endo employees referenced in the

Complaint who provided information supporting the allegations; and (iv) drafting the 102-page

Complaint, which includes detailed allegations regarding the process whereby Defendants

implemented and tracked the financial impact of price increases. The work performed on the

Complaint was undertaken from June to August 2018.

       2.      Opposing Defendants’ Motion to Dismiss: This category consists of work to

oppose Defendants’ motion to dismiss. Specific tasks included: (i) researching and drafting the

opposition brief filed on October 26, 2018 (ECF 66), which included arguments that the Complaint



2
  As previously stated in the Fonti Declaration (ECF 402-9 ¶4), in consultation with Lead Counsel
and Co-Lead Counsel, Prior Lead Plaintiff’s Counsel excluded and did not submit lodestar for (a)
work that was specific to Chicago Park in its role as Prior Lead Plaintiff and proposed class
representative; (b) the objection and appeals related to the Pennsylvania state court action
captioned Pub. Emps.’ Ret. of Miss. v. Endo Int’l plc; and (c) all work performed (i) before June 19,
2018 (the day Chicago Park was appointed as Lead Plaintiff (ECF 59)) and (ii) after December 9,
2020 (the date on which the Court held its first hearing on Chicago Park’s motion for class
certification). These exclusions removed 5,158.25 hours of work performed by the Prior Lead
Plaintiff’s Counsel firms (ECF 402-9 ¶5).



                                                  3
         Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 4 of 8



adequately alleged the falsity of Defendants’ statements based on Defendants’ concealment of the

financial impact of the price increases, and Defendants’ scienter based on their involvement in

drug pricing decisions and receipt of reports tracking the increases’ financial impact; (ii) preparing

for the September 18, 2019 oral argument, including by preparing an outline that included

summary rebuttals to each of Defendants’ arguments and responses to the Court’s pre-hearing

questions; (iii) drafting notices of supplemental authority to inform the Court of recent decisions

that further demonstrated the adequacy of the allegations in the Complaint (ECF 70, 72, 86); and

(iv) filing a post-hearing submission at the Court’s direction. (ECF 89.)

       3.      Efforts to Secure Document and Written Discovery: Discovery commenced upon

the Court’s ruling on the motion to dismiss on February 14, 2020. BFA’s efforts to secure

document and written discovery included: (i) preparing and serving written discovery requests on

Defendants, including 95 requests for production of documents (served in two sets on February 28

and April 13, 2020), five interrogatories (served in two sets on April 13 and November 18, 2020),

and 489 requests for admission (served on November 18, 2020); (ii) negotiating discovery

disputes, resulting in, among other things, Defendants’ agreement to produce documents in tiers

based on particular custodians to ensure efficient deposition preparations; (iii) briefing two

motions to compel that resulted in production of Board of Directors materials (ECF 108, 112; see

also ECF 114 (Order)), and additional depositions, including of Endo’s current CEO and a member

of its Board of Directors (ECF 181, 202, 207; see also ECF 301 (Order)); and (iv) negotiating the

scope of document productions by Endo’s auditor and underwriter banks. These efforts resulted

in the production of well over 1,000,000 pages of documents by Defendants and Endo’s auditor

and underwriters.

       4.      Fact Depositions: This category consists of work to prepare for and depose five

former Endo employees, and to prepare work product for certain fact depositions that were



                                                  4
         Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 5 of 8



ultimately taken by Lead Counsel and Co-Lead Counsel. This work involved: (i) implementing

a comprehensive deposition preparation process to review the documents related to each of the

five deponents; (ii) drafting detailed deposition outlines that utilized critical documents to develop

the Class’s proof; and (iii) logistical support for all depositions to be conducted remotely, including

delivery of hard copy deposition exhibits to witnesses and counsel. BFA deposed the five

witnesses listed below:

         NAME                                     TITLE                                  DATE
 Patrick Raimer             Former Senior Director of Financial Planning of           Oct. 20, 2020
                            Analysis; former Interim Vice President, Finance
 Lori Minnihan              Former Associate Director, Contracts and Pricing          Oct. 23, 2020
 Charles “Trey” Propst      Former Vice President, National Accounts                  Nov. 18, 2020
 Michael Reiney             Former Vice President, Sales and Marketing                Nov. 20, 2020
 Suketu Upadhyay            Former Chief Financial Officer                            Dec. 4, 2020
 (Defendant)

In addition, BFA prepared and provided deposition materials for the following depositions that

were taken by Lead Counsel and Co-Lead Counsel: (i) Defendant Rajiv De Silva (former Chief

Executive Officer); (ii) Defendant Paul Campanelli (former Chief Executive Officer);

(iii) Blaise Coleman (current Chief Executive Officer); and (iv) Warren Pefley (former Senior

Director, National Accounts and Customer Marketing).

       5.      Class Certification: Beginning on June 26, 2020, BFA briefed class certification

and submitted the expert opinion of Dr. Zachary Nye (see ECF 116, 116-5). Dr. Nye rendered

opinions concerning market efficiency, price impact, and a class-wide damages methodology. Dr.

Nye was deposed on July 27, 2020. BFA also deposed Defendants’ expert, Dr. Skinner, and

opposed Defendants’ motion to strike portions of Dr. Nye’s report. Bucks and Lead Counsel relied

on Dr. Nye’s expert opinions in further supporting class certification, as the Court referenced in

its class certification order entered May 21, 2021 (ECF 340).




                                                  5
        Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 6 of 8



       6.     In addition to the five tasks identified by Lead Counsel and described above, BFA

also undertook the following work:

              (a)     Analysis of Document Discovery: This category includes work to analyze

the documents obtained from Defendants and Endo’s auditor and underwriters. Specific tasks

included: (i) establishing protocols and procedures to guide the review and developing a

customized document review platform with an eDiscovery vendor; (ii) deploying and continually

refining artificial intelligence tools to quickly identify the most important documents produced

based on those previously identified by attorneys; (iii) structuring the review to prioritize

documents for review based on their custodians and contents, and completing dozens of targeted

searches for documents concerning key topics; and (iv) closely supervising the review team to

ensure focus on identifying important documents supporting the Class’s claims.

              (b)     Mediation: BFA engaged in two mediation sessions under the auspices of

Hon. Layn. R. Phillips (Ret.), the same mediator who later oversaw the Settlement. BFA first

participated in a February 2019 mediation session that was unsuccessful. Over 18 months later,

with document production and depositions underway, BFA participated in a second mediation in

November 2020. In connection with these two mediation sessions, BFA engaged experts to assess

Endo’s financial condition and calculate aggregate damages.       BFA also prepared detailed

mediation statements in advance of each mediation session. (See ECF 402-2 (Stengel Decl.) ¶9.)

The statements and other materials were shared with Lead Counsel during the transition.

              (c)     Case Administration: This category includes administrative work, such as

monitoring dockets in related cases for relevant developments, organizing case documents, and

calendaring important deadlines.




                                               6
        Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 7 of 8



       Hourly Rates

       At the February 23 hearing, the Court instructed counsel to apply Philadelphia-area rates.

(Tr. at 19:19-20:13.) The Court may wish to consider Lead Counsel’s blended hourly rate (i.e.,

the total amount of lodestar for all personnel divided by total number of hours expended) as an

indicator of Philadelphia-area rates. Lead Counsel’s blended rate is $443.47/hour ($805,005.10

lodestar divided by 1,815.233 hours) (see ECF 402-2 ¶41). This is 20.7% lower than BFA’s

blended hourly rate of $559.23 ($9,943,115 lodestar divided by 17,780 hours) (see id.).

       Conclusion

       We respectfully request that the Court take into account the above information in

determining its award.



DATED: March 4, 2022                           Respectfully submitted,

HANGLEY ARONCHICK SEGAL                        BLEICHMAR FONTI & AULD LLP
PUDLIN & SCHILLER

 /s/ John S. Summers                             /s/ Joseph A. Fonti
John S. Summers                                Joseph A. Fonti (admitted pro hac vice)
One Logan Square, 27th Floor                   Javier Bleichmar (admitted pro hac vice)
Philadelphia, Pennsylvania 19103               7 Times Square, 27th Floor
Telephone: (215) 568-6200                      New York, NY 10036
Facsimile: (215) 568-0300                      Telephone: (212) 789-1340
                                               Facsimile: (212) 205-3960
Co-Counsel for the Park Employees’ and         jfonti@bfalaw.com
Retirement Board Employees’ Annuity and        jbleichmar@bfalaw.com
Benefit Fund of Chicago
                                               Co-Counsel for the Park Employees’ and
                                               Retirement Board Employees’ Annuity and
                                               Benefit Fund of Chicago




                                                7
         Case 2:17-cv-05114-MMB Document 414 Filed 03/04/22 Page 8 of 8




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a true and correct copy of the foregoing to be filed
using the Court’s Electronic Filing System (“ECF System”). The document is available for
viewing and downloading via the ECF System, and will be served by operation of the ECF System
upon all counsels of record.

Dated: March 4, 2022                                  BLEICHMAR FONTI & AULD LLP
                                                          /s/ Joseph A. Fonti
                                                               Joseph A. Fonti
